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     CODECLINIC, LLC
14

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16                              UNITED STATES DISTRICT COURT

17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

18   APEX.AI, INC.,                               Case No. 5:23-cv-02230

19                Plaintiff,                      STIPULATION AND [PROPOSED]
                                                  ORDER GRANTING STIPULATED
20   v.                                           PRELIMINARY INJUNCTION

21   NEIL RICHARD LANGMEAD, AN
     INDIVIDUAL; VERIFA, INC., A
22   MASSACHUSETTS CORPORATION;
     CODECLINIC LLC DBA LATTIX, A
23   MASSACHUSETTS LIMITED LIABILITY
     COMPANY, AND DOES 1-20,
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                  Defendants.
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     STIPULATION AND [PROPOSED] ORDER GRANTING STIPULATED PRELIMINARY INJUNCTION
     70489626;2
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 1           WHEREAS, on May 8, 2023, Plaintiff Apex.AI, Inc. filed the Complaint in this Action

 2   alleging (1) violation of the Defend Trade Secrets Act against all Defendants; (2) Breach of

 3   Contract against Langmead and Verifa; (3) Fraud against Langmead; and (4) Unfair Competition

 4   against all Defendants;

 5           WHEREAS, on May 11, 2023 the Court issued a Temporary Restraining Order and Order

 6   to Show Cause Why a Preliminary Injunction Should Not Issue against Defendants on the grounds

 7   that Plaintiff demonstrated a substantial likelihood of success on the merits of its claims against

 8   Defendants, that without an order, Plaintiff would suffer irreparable harm, and that the balance of

 9   equities and public interest favor Plaintiff;

10           WHEREAS, the Court set a hearing on the Order to Show Cause for May 22, 2023 at 9:00

11   a.m., and

12           WHEREAS, the Parties now wish to stipulate and agree to the issuance of a Preliminary

13   Injunction in lieu of the May 22, 2023 hearing.

14

15   NOW, THEREFORE, THE PARTIES HEREBY AGREE AND STIPULATE AS FOLLOWS:

16           1.     The Parties agree that this Preliminary Injunction shall remain in full force and effect

17   through the date on which judgment as to each enjoined Defendant is entered in this matter, and that

18   Defendants (and any other person or entity participating with or acting for, or on behalf of, or in

19   concert with Defendants who receives actual notice of this Stipulation and Preliminary Injunction

20   Order) are enjoined and restrained:

21                  a.      From accessing, by any means, any and all of Apex.AI’s files;

22                  b.      From using any of Apex.AI’s Trade Secrets or confidential information, and

23                  from disclosing them to any person or entity other than Apex.AI;

24                  c.      From altering, destroying, or disposing of any evidence or other materials, in

25                  any form, relating to this action and the issues raised herein, including, without

26                  limitation, all electronic media, cloud storage, and all copies of any and all documents,

27                  media, and/or other materials containing, identifying, describing, reflecting, or

28                  referencing Apex.AI’s confidential or Trade Secret information, as well as any and

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     STIPULATION AND [PROPOSED] ORDER GRANTING STIPULATED PRELIMINARY INJUNCTION
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 1                 all documents, data and information that was obtained by Defendants from Apex.AI

 2                 by virtue of their consulting relationship with Apex.AI, including all current or

 3                 archived media, emails, chats, texts, documents, electronic logs, metadata, storage

 4                 and directories.

 5            2.   Defendants shall return all Apex.AI Trade Secrets, confidential information, property

 6   and data, whether in paper form or in an electronic medium, including Defendant Langmead's

 7   Apex.AI-issued laptop, the Apex.AI source code stored on CodeClinic's GitLab instance; and any

 8   Apex.AI source code stored in any other location outside of Apex.AI's files.

 9            3.   “Trade Secrets,” as used herein, is defined as:

10                 a.      Apex.Grace, Apex.Ida (together: Apex.OS);

11                 b.      the source code that makes up Apex.Grace/Apex.Ida and Apex.AI’s other

12                 offerings and technology;

13                 c.      the ISO 26262 functional safety certification artifacts associated with

14                 Apex.AI’s products and technology;

15                 d.      the Apex continuous integration-based pipeline for a modern, web-based

16                 system for the automatic generation of ISO 26226 functional safety certification

17                 artifacts for C++ software;

18                 e.      the know how to re-work, and process for reworking, open source software to

19                 make it scalable, flexible and robust, and how to certify it as safe;

20                 f.      know how regarding, and the process for, the cross-compilation of QNX

21                 operating systems; and

22                 g.      Plaintiff’s contact information for current and prospective customers’ decision

23                 makers and information about their pain points and technological needs.

24            4.   This Preliminary Injunction shall become immediately effective upon its entry.

25            5.   No security need be posted by Plaintiff in connection with this Preliminary Injunction.

26            6.   Defendants agree that they have been served with the Complaint, Plaintiff’s

27   Application for a Temporary Restraining Order and accompanying documents, the Court’s

28   Temporary Restraining Order and Order to Show Cause Why a Preliminary Injunction Should Not

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     STIPULATION AND [PROPOSED] ORDER GRANTING STIPULATED PRELIMINARY INJUNCTION
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 1   Issue, and all other documents currently on the court’s docket.

 2            7.     Defendants accept the jurisdiction of this Court.

 3            8.     Defendants shall abide by the stipulated protective order to be filed in this case

 4   governing the use and disclosure of confidential information in connection with this litigation.

 5            9.     Defendants agree that the description of the Trade Secrets, as articulated in this Order

 6   and in the Complaint and Application for a TRO, describe the Trade Secrets with reasonable

 7   particularity, but do not admit that some constitute valid trade secrets.

 8            10.    The parties agree that Plaintiff may engage in early discovery, and they will meet and

 9   confer as to the scope of such discovery.

10            11.    The parties agree that Defendants Langmead and Verifa will provide any electronic

11   devices in Defendants possession, custody or control that contain Apex.AI trade secrets and/or

12   confidential information, and that Plaintiff may conduct a forensic examination of such devices.

13            12.    The parties agree that Plaintiff can conduct a forensic examination of CodeClinic’s

14   GitLab instance to search for Apex.AI source code.

15                                               ATTESTATION

16            I attest that concurrence in the filing of this document has been obtained from any other

17   signatory to this document.
                                                            By:    /s/Melinda Morton
18                                                                 Melinda Morton
19            Dated this 19th day of May 2023.
20
     s/ Melinda M. Morton                                   /s/ Thomas G. Pasternak
21   Melinda M. Morton                                      Thomas G. Pasternak
     Jacob K. Poorman                                       Akerman LLP
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     Telephone: 650-646-9000
25   Facsimile: 619-235-0398                                Attorneys for Defendants,
     mindy.morton@procopio.com                              Neal Langmead, Verifa, Inc.,
26   jacob.poorman@procopio.com                             and CodeClinic, LLC
27   Attorneys for Plaintiff,
     APEX.AI, Inc.
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 1                                                   ORDER

 2   Good cause appearing, the Court hereby grants the Preliminary Injunction as follows:

 3                1. Defendants (and any other person or entity participating with or acting for, or on

 4                   behalf of, or in concert with Defendants who receives actual notice of this Stipulation

 5                   and Preliminary Injunction Order) are enjoined and restrained:

 6                       a. From accessing, by any means, any and all of Apex.AI’s files;

 7                       b. From using any of Apex.AI’s Trade Secrets or confidential information, , and

 8                           from disclosing them to any person or entity other than Apex.AI;

 9                       c. From altering, destroying, or disposing of any evidence or other materials, in

10                           any form, relating to this action and the issues raised herein, including, without

11                           limitation, all electronic media, cloud storage, and all copies of any and all

12                           documents, media, and/or other materials containing, identifying, describing,

13                           reflecting, or referencing Apex.AI’s confidential or Trade Secret information,

14                           as well as any and all documents, data and information that was obtained by

15                           Defendants from Apex.AI by virtue of their consulting relationship with

16                           Apex.AI, including all current or archived media, emails, chats, texts,

17                           documents, electronic logs, metadata, storage and directories.

18                2. Defendants shall return all Apex.AI Trade Secrets, confidential information, property

19                   and data, whether in paper form or in an electronic medium, including Defendant

20                   Langmead's Apex.AI-issued laptop, the Apex.AI source code stored on CodeClinic's

21                   GitLab instance; and any Apex.AI source code stored in any other location outside of

22                   Apex.AI's files.

23                3. “Trade Secrets,” as used herein, is defined as:

24                       a. Apex.Grace, Apex.Ida (together: Apex.OS);

25                       b. the source code that makes up Apex.Grace/Apex.Ida and Apex.AI’s other

26                           offerings and technology;

27                       c. the ISO 26262 functional safety certification artifacts associated with

28                           Apex.AI’s products and technology;

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 1                       d. the Apex continuous integration-based pipeline for a modern, web-based

 2                           system for the automatic generation of ISO 26226 functional safety

 3                           certification artifacts for C++ software;

 4                       e. the know how to re-work, and process for reworking, open source software to

 5                           make it scalable, flexible and robust, and how to certify it as safe;

 6                       f. know how regarding, and the process for, the cross-compilation of QNX

 7                           operating systems; and

 8                       g. Plaintiff’s contact information for current and prospective customers’ decision

 9                           makers and information about their pain points and technological needs.

10                4. This Preliminary Injunction shall become immediately effective upon its entry and

11                   shall remain in full force and effect through the date on which judgment as to each

12                   enjoined Defendant is entered in this matter.

13                5. No security need be posted by Plaintiff in connection with this Preliminary Injunction.

14

15            IT IS FURTHER ORDERED THAT:

16                   1. Plaintiff may engage in early discovery, and the parties will meet and confer as to

17                       the scope of such discovery.

18                   2. Defendants Langmead and Verifa will provide any electronic devices in

19                       Defendants possession, custody or control that contain Apex.AI trade secrets

20                       and/or confidential information, and that Plaintiff may conduct a forensic

21                       examination of such devices.

22                   3. Plaintiff can conduct a forensic examination of CodeClinic’s GitLab instance to

23                       search for Apex.AI source code.

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 1                4. The hearing set for May 22, 2023 at 9:00 am is adjourned.

 2   IT IS SO ORDERED.

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 5   DATED: May 19
                __, 2023
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 7
                                                       Hon. Beth Labson Freeman
 8                                                     U.S. District Judge
                                                       Northern District of California
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